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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED      STATES         OF   AMERICA,       )             CASE NO. 8:07CR32
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                   ORDER
                                               )
ENOCH PITTMAN,                                 )
                                               )
              Defendant.                       )

       This matter is before the Court on the motion of a third-party, Julia Pittman, for

release of $2,500.00 in funds that she paid to secure the Defendant’s bond (Filing No. 71).

       The Clerk of this district has received the $2,500 and verified that this amount was

received from Julia Pittman. The Clerk advises that the Defendant has not paid his $100

special assessment. Therefore, $2,400.00 will be released to Ms. Pittman and $100 will

be applied toward the special assessment.

       IT IS ORDERED:

       1.     The motion of a third-party, Julia Pittman, for release of $2,500.00 in funds

              that she paid to secure the Defendant’s bond (Filing No. 71) is granted in part

              and denied in part as follows:

              a.     the Clerk shall release $2,400.00 to Julia Pittman;

              b.     the Clerk shall apply the remaining $100.00 to Mr. Pittman’s special

                     assessment; and

       2.     The Clerk shall mail a copy of this Order to Ms. Pittman at the address

              provided in her motion and to the Defendant at his last known address.
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    DATED this 16th day of April, 2008.

                                              BY THE COURT:

                                              S/Laurie Smith Camp
                                              United States District Judge




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